 Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.917 Page 1 of 6



                     UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

Eric C. Grimm,                            |
                                          |
               Plaintiff,                 |
                                          |
        vs.                               |      Civil Action No. 17-cv-654
                                          |
Raw Story Media, Inc., The Herald         |
Publishing Company, LLC, MLive            |      Hon. Gordon J. Quist
Media Group, f/k/a Booth Newspapers,      |      United States District Judge
Inc., Newslo, Stephen Kloosterman,        |
Kevin Even, Paul Shibley, Brianna Scott, |       Hon. Philip J. Green
David Bossenbroek, Matt J. Roberts, David |      United States Magistrate Judge
Shafer, Barton Dieters, Gregory           |
C. Pittman, Williams | Hughes, PLLC,      |
Douglas Hughes, Theodore N. Williams, Jr, |
Timothy Hicks, William Marietti, Kathy    |
Hoogstra, Robert Carter, Raymond          |
Kostrzewa, Linnea Kostrzewa, Mark T.      |
Boonstra, Neil Mullally, Vicki Broge, The |
Washington Times, LLC, and the County |
of Muskegon,                              |
                                          |
               Defendants.                |
____________________________________|
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____________________________________

                     RULE 41(a)(1)(A)(i), FED. R. CIV. P. NOTICE
                       OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the FEDERAL RULES   OF   CIVIL PROCEDURE, Plaintiff


                                          Page -1-
 Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.918 Page 2 of 6



voluntarily dismisses this entire civil action, without prejudice. The governing rule states:

       (a)     Voluntary Dismissal.

               (1)     By the Plaintiff.

       (A)     Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any

               applicable federal statute, the plaintiff may dismiss an action without a court order

               by filing:

               (i)     a notice of dismissal before the opposing party serves either an answer or a

                       motion for summary judgment[.]

FED. R. CIV P. 41(a)(1)(A)(i). Rules 23(e), 23.1(c), 23.2, and 66 have no application to this lawsuit.

No Defendant has filed any Answer. No Defendant has filed any summary disposition motion.

       Plaintiff is of the view that Defendants’ motions to dismiss all are preposterous and lack any

merit. The defense strategy appears to be to manufacture needless delay, inconvenience and

expense, rather than taking personal responsibility for unquestionably awful, toxic behavior.

       Nonetheless, there is considerable value to the Plaintiff (far beyond any amount of money)

getting the outrageous toxicity of Muskegon County, its courts, its monopoly newspaper, its bully

culture, and the narcissistic “mistakes have been made” judge, entirely out of Plaintiff’s life, to

occupy as little mental bandwidth as possible moving forward into the future.

       The difference in character, when *all* the facts are known, should be self-evident. And

good character is what matters. Without prejudice, therefore, Plaintiff voluntarily dismisses.

       To be clear:    1.      Plaintiff does not in any way apologize for, or regret, over a decade

                               of anti-racism, anti-segregation, and anti-bigotry activism,

                               including Plaintiff’s active support for religious diversity, and


                                              Page -2-
Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.919 Page 3 of 6



                      Plaintiff has nothing to apologize for in that regard. Plaintiff does

                      not apologize in any way for Plaintiff’s published criticism in 2015

                      of the “downtown leadership clique” in Muskegon County, Michigan,

                      for their lackadaisical go-slow public-relations-driven attitude toward

                      a very serious racial segregation problem in what has been the 19th

                      most-segregated SMSA in the entire United States;

                2.    The recent “Gorilla Channel” hoax involving President Trump should

                      make it clear that toxic masculinity, bullying, and other problem

                      behaviors are fair game for criticism, including artful criticism. This

                      is a First Amendment issue, first and foremost. The similarities

                      (Republican, narcissistic qualities of personality, bully, toxic)

                      between the focus of Plaintiff’s criticism and the butt of the “Gorilla

                      Channel” hoax – namely, President Trump – should not go without

                      mention or notice. The context of Plaintiff’s email remarks made

                      clear that the focus of Plaintiff’s criticism solely related to bully

                      behavior and was never about the distraction that others subsequently

                      manufactured out of their rich imaginations;

                3.    The limited scope of Plaintiff’s “apology” needs to be re-emphasized.

                      Plaintiff “apology” stands, as initially given, but always has been

                      only about so-called temporary “insensitivity” – i.e., not realizing




                                     Page -3-
 Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.920 Page 4 of 6



                              that some segment of Plaintiff’s audience would (at least allegedly)1

                              be oblivious to a 21st Century, evolutionary-biology-informed

                              sensibility, and oblivious to the reality that Plaintiff’s sensibility is

                              and always has been a 21st Century perspective and not any 19th

                              Century perspective typified by the jurors in the Scopes Monkey

                              Trial;

                      4.      Turns out, more people in Muskegon, Michigan still have their heads

                              stuck in the 1925 America of the Scopes Trial, than Plaintiff ever

                              realized; America as a whole needs to get past that and to move

                              toward a more constructive conversation about a lot of issues that

                              today are danced around (on a dance-floor that often resembles a

                              verbal minefield) rather than discussed in a way that promotes real

                              progress and understanding;

                      5.      It remains true that the individual criticized by the Plaintiff was a

                              toxic bully, and remains a toxic bully. Plaintiff reasserts the original

                              truthful criticism of him, but only the intended criticism, in the most

                              emphatic possible way. The triple-metaphor originally used captures

                              the essence of the problem in a vastly more profound, more poetic,

                              and more meaningful way than some readers evidently realized;


       1
         Almost all criticism appears to have been politically-motivated, manufactured, and
entirely phony. It amounted – exactly like the recent episode in which a Member of Congress
“played the race card” in an attempt to excuse the politician’s own questionable behavior – to an
exercise by people who knew full well that no dog whistle was even present, of pretending to
hear a dog whistle that was never there.

                                             Page -4-
Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.921 Page 5 of 6



                6.    Plaintiff is not and categorically denies ever having been a “bigot;”

                7.    Plaintiff has never apologized for being a “bigot” and has no reason

                      to do so because that lie always has been categorically untrue;

                8.    The intent of Plaintiff’s remarks is solely determined by the intent of

                      Plaintiff himself; it is not for any listener falsely to attribute a

                      different intent to the Plaintiff. Plaintiff categorically rejects any

                      accusation that any of his remarks ever have been “bigoted” or

                      anything other than appropriate to the originally intended subject-

                      matter. The intended subject-matter has to do with bullying from the

                      bench, which is a real phenomenon, which really did occur, and

                      which has been occurring in Muskegon County at least since 2002.

                9.    Plaintiff owes no apology to Gregory Pittman for anything

                      whatsoever, while an apology is long overdue from the bully judge.

                10.   “Mistakes have been made” is not a proper apology from Gregory

                      Pittman;

                11.   The facts of Plaintiff’s history of successes in the courtroom, and as

                      a well-qualified professional (including quite a track-record besting

                      Kevin Even in court), which also include numerous glowing reviews

                      from very satisfied clients – speak for themselves;

                12.   The people most harmed by what the Defendants did were the voters

                      and taxpayers in Muskegon County, who will have to live with the

                      judges selected in the 2016 election for quite some time.


                                     Page -5-
 Case 1:17-cv-00654-GJQ-PJG ECF No. 68 filed 01/12/18 PageID.922 Page 6 of 6




                                                     _/s/ Eric C. Grimm ________
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                                CERTIFICATE OF SERVICE

       I certify that the foregoing Notice of Dismissal was electronically filed through the Court’s

ECM/CF System on January 12, 2018, and will therefore automatically be served by email on all

Parties and counsel that have appeared. As a courtesy, it is also being transmitted and served by

electronic mail on legal counsel for the Washington Times.

                                                     __/s/ Eric C. Grimm_______________
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                                             Page -6-
